                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                        Plaintiff,           )
                                             )
vs.                                          )      Case No. 18-00102-01-CR-W-GAF
                                             )
JAMES R. GEEN, JR.,                          )
                                             )
                        Defendant.           )

              MOTION TO EXTEND DEADLINE TO FILE PSR OBJECTIONS

       COMES NOW the defendant, James R. Green, Jr., through his counsel, Anita L. Burns,

Assistant Federal Public Defender for the Western District of Missouri, and moves this Court to

extend the deadline for filing Objections to the PSR until March 18, 2019. The objections are

currently due March 11, 2019.


                                     SUGGESTIONS IN SUPPORT

       1.       On May 1, 2018, an Indictment was filed in the Western District of Missouri

charging defendant with violations of 18 U.S.C. §§ 2242(b), 2251(a), (e), and 2252(a)(4).

       2.       On May 2, 2018, the office of the Federal Public Defender was appointed to

represent defendant.

       3.       On November 20, 2018, defendant pled guilty to counts two and nine of the

indictment.

       4.       Additional time is needed to prepare objections/corrections to the presentence

investigation report.




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       WHEREFORE, the defendant, James R. Green, Jr., respectfully requests this Court extend

the deadline for filing Objections to the PSR until March 18, 2019.

                                                Respectfully submitted,

                                                /s/ Anita L. Burns
                                                Anita L. Burns
                                                Assistant Federal Public Defender
                                                818 Grand, Suite 300
                                                Kansas City, MO 64106
                                                (816) 471-8282




                                CERTIFICATE OF SERVICE

         In accordance with Rule 49(a), (b) and (d), Fed. R. Crim. P., and Rule 5(b), Fed. R. Civ.
P., it is hereby certified that one copy of the foregoing Motion was electronically filed and that
notice of filing was sent to all parties pursuant to the Electronic Case Filing System on this 11th
day of March, 2019.

                                                /s/ Anita L. Burns
                                                Anita L. Burns




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